     FRED HJELMESET
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2    (650) 386-5634
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     Chapter 7 Trustee
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6
                                UNITED STATES BANKRUPTCY COURT
7
                                NORTHERN DISTRICT OF CALIFORNIA
8
                                              SAN JOSE DIVISION
9
     In re:                                            Case No. 18-52831 MEH7
10
     JOHN, FATMATA,                                    Chapter 7
11

12                                  Debtor.

13

14
                  TRUSTEE’S REQUEST FOR NOTICE OF POSSIBLE DIVIDEND
15
              TO THE CLERK OF THE COURT:
16
              A claims bar date in this Chapter 7 case has not been set and the Trustee has not
17
     previously requested a Notice of Possible Dividend. It appears that there may be sufficient assets
18
     available for the payment of a dividend to creditors. Accordingly, the Trustee respectfully
19
     requests pursuant to Fed.R.Bankr.P. 3002(a)(5) that a claims bar date be set and a Notice of
20   Possible Dividend be sent to all creditors.
21

22   DATED:          This 13th day of March, 2019.
                                                                             /s/ Fred Hjelmeset
23                                                                        Fred Hjelmeset, Chapter 7 Trustee

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